         Case 3:21-cv-00299-DCG Document 15 Filed 12/08/21 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 UNITED STATES OF AMERICA,                       §
                                                 §
                Plaintiff,                       §
 v.                                              §
                                                 §
 STATE OF TEXAS and JOHN SCOTT,                  §     Case No. 3:21-CV-00299-DCG
 in his official capacity as Secretary ofthe     §
 State of Texas,                                 §
                                                 §
                Defendants.                      §
                                                 §

                                               ORDER

       In light of the Defendants' "Request for Three Judges" (ECF No. 14), IT IS ORDERED

that the Court's "Order Requiring Briefing" (ECF No. 8) is VACATED.

       So ORDERED and SIGNED this _nay of December 2021.
